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                                EXHIBIT 1
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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 In re                                   }        Case No. 16-40120-705
                                         }        Chapter 11
 ARCH COAL, INC.,                        }
 ICG, ILLINOIS, LLC, et. al.             }         (Jointly Administered)
                                         }
                                         }         ORDER GRANTING MOTION OF ERVIN
             Debtors in Possession,      }         ARMBRUSTER FOR RELIEF FROM
                                         }         AUTOMATIC STAY TO FILE SUIT IN
 _______________________________         }         STATE COURT FOR DAMAGES FOR
                                         }         PERSONAL INJ URIES
                                         }         (Document )
                                         }
 ERVIN ARMBRUSTER                        }         Hearing date:
                             Movant,     }         Hearing time: 9:30 a.m.
                                         }         Hearing Location: Courtroom 7th Floor South
 ARCH COAL, INC., and                    }         Response Deadline:
 ICG, ILLINOIS, LLC,                     }
                                         }
                             Respondents }


         The Motion of Ervin Armbruster for Relief from Automatic Stay to File Suit in State
 Court for Damages for Personal Injuries (“the Motion”) is presented for hearing pursuant to
 notice. The Court has considered the pleadings in this case and the record as a whole and finds
 that good cause exists to grant the relief requested.
         IT IS, THEREFORE, ORDERED that the Motion is GRANTED in that the Automatic
 Stay of 11 U.S.C. Section 362 is hereby modified; and, Ervin Armbruster is hereby permitted to
 file suit and pursue to settlement or judgment his claims against Arch Coal, Inc. (“Arch”), and
 ICG, Illinois, LLC (“ICG”) (Collectively “Debtors”) based on injuries he sustained when a high
 pressure hose separated from a tank and struck him on or about June 27, 2014, at a coal mine
 known as the Viper Mine owned by Arch and operated by ICG (“the Claim”); and, Movant’s
 enforcement of collection of any settlement or judgment against Debtors based on the Claim is
 hereby limited to recovery from Debtors’ insurance carrier to the extent of its coverage; and, the
 Automatic Stay of 11 U.S.C. Section 362 shall remain in effect against any other action for
 collection of any judgment against Debtors arising from the Claim; and, all other relief requested
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 in the Motion is denied without prejudice.

                                                 ____________________________________
 Dated:                                          CHARLES E. RENDLEN, III
 at St. Louis, Missouri                          United States Bankruptcy Judge


 Order prepared by:
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